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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

BREANN K. OVERFIELD,

             Plaintiff,

      v.                                         Case No. 2:19-cv-02014-JWB-TJJ

STARBUCKS CORPORATION,

             Defendant.

                                         ORDER

      Having considered Defendant’s Motion to Dismiss with Prejudice (Doc. 43), and for good

cause shown, the Court finds that said Motion should be, and hereby is, GRANTED. IT IS

THEREFORE ORDERED this 19th day of August, 2020, that the above-captioned case is

DISMISSED WITH PREJUDICE.




                                             ____s/ John W. Broomes
                                             JOHN W. BROOMES
                                             UNITED STATES DISTRICT JUDGE
